                            Case:14-04375-jtg             Doc #:73 Filed: 06/16/18               Page 1 of 4
                                               United States Bankruptcy Court
                                               Western District of Michigan
In re:                                                                                                     Case No. 14-04375-jtg
Andrea J. Averill                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0646-1                  User: jonesl                       Page 1 of 2                          Date Rcvd: Jun 14, 2018
                                      Form ID: 3180W                     Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 16, 2018.
db             +Andrea J. Averill,    13396 Lime Lake Dr.,    Sparta, MI 49345-9523
7395540        +Allied Collection Group,    400 Allied Ct.,    Zeeland, MI 49464-2219
7395541        +American Debt Mediators,    15950 North Dallas Parkway,    Ste. 400,   Dallas, TX 75248-6628
7395542         Art Van/Retail Services,    Attn: Legal Dept.,    6500 E 14 Mile Rd.,    Warren, MI 48092-1281
7395547        +Daniel Rudd,   201 S lake Ave,    Spring Lake, MI 49456-1940
7395551        +Eric Averill,   13396 Lime Lake Dr,    Sparta, MI 49345-9523
7413620        +FIFTH THIRD MORTGAGE COMPANY,    5001 KINGSLEY DR 1MOBBW,    CINCINNATI OH 45227-1114
7395553        +Fifth Third Bank,   5050 Kingsley Dr.,     Cincinnati, OH 45227-1115
7395554        +Fountain Hill Center,    534 Fountain St Ne,    Grand Rapids, MI 49503-3422
7395555        +Mercy General Health Partners,    Patient Accounts,    1820 44th St. SE,
                 Grand Rapids, MI 49508-5006
7395558         State of Michigan Dept.,    of Treasury,    PO Box 77437,   Detroit, MI 48277-0360
7395559        +Sunrise Credit Services, Inc.,    Po Box 9100,    Farmingdale, NY 11735-9100

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +EDI: RECOVERYCORP.COM Jun 15 2018 01:58:00       Recovery Management Systems Corporation,
                 For GE Capital Retail Bank,    25 SE 2nd Avenue, Suite 1120,     Miami, FL 33131-1605
7395543         EDI: BANKAMER.COM Jun 15 2018 01:58:00       Bank of America,    Po Box 982235,
                 El Paso, TX 79998
7395544        +E-mail/Text: cms-bk@cms-collect.com Jun 14 2018 22:16:29        Capital Management Services,
                 726 Exchange Street, Ste. 700,    Buffalo, NY 14210-1464
7395545         EDI: CHASE.COM Jun 15 2018 01:58:00       Chase Bank USA,    Chase Cardmember Service,
                 PO Box 15298,    Wilmington, DE 19850-5298
7395546        +E-mail/Text: wwells@choiceone.com Jun 14 2018 22:16:37        Choice One Bank,    109 E. Divison St,
                 Sparta, MI 49345-1380
7395550         EDI: DISCOVER.COM Jun 15 2018 01:58:00       Discover Fin Services,     PO Box 15316,
                 Wilmington, DE 19850
7400730         EDI: DISCOVER.COM Jun 15 2018 01:58:00       Discover Bank,    DB Servicing Corporation,
                 PO Box 3025,    New Albany, OH 43054-3025
7395552         EDI: BANKAMER.COM Jun 15 2018 01:58:00       FIA Card Services,    PO Box 15026,
                 Wilmington, DE 19850-5026
7395549         EDI: IRS.COM Jun 15 2018 01:58:00       Department of the Treasury,     Internal Revenue Service,
                 Po Box 802501,    Cincinnati, OH 45280
7472290        +E-mail/Text: MarcsBankruptcyUnit@michigan.gov Jun 14 2018 22:17:10
                 Michigan Department of Treasury,    Bankruptcy Unit,     PO Box 30168,    Lansing, MI 48909,
                 5 48909-7668
7541076         EDI: RECOVERYCORP.COM Jun 15 2018 01:58:00       Recovery Management Systems Corporation,
                 25 S.E. 2nd Avenue, Suite 1120,    Miami, FL 33131-1605
7395556        +E-mail/Text: creditsupervisors@rogent.com Jun 14 2018 22:17:11        Roger & Hollands,
                 Po Box 879,    Matteson, IL 60443-0879
7395557        +E-mail/Text: cbo-patientliabilitysupportteam@spectrumhealth.org Jun 14 2018 22:16:43
                 Spectrum Health,    1840 Wealthy St SE,    Grand Rapids, MI 49506-2968
7420912         EDI: WFFC.COM Jun 15 2018 01:58:00       Wells Fargo Bank, N.A.,    P.O. Box 19657,
                 Irvine, CA 92623-9657
7395560        +EDI: WFFC.COM Jun 15 2018 01:58:00       Wells Fargo Dealers Services,     Po Box 1697,
                 Winterville, NC 28590-1697
7395561        +E-mail/Text: BKRMailOps@weltman.com Jun 14 2018 22:16:51        Weltman, Weinberg & Reis Co,
                 2155 Butterfield Dr, Ste 200-S,    Troy, MI 48084-3463
                                                                                                TOTAL: 16

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Fifth Third Mortgage Company,    5001 KINGSLEY DR,   1MOBBW,   CINCINNATI, OH 45227-1114
7493944*         +Daniel . Rudd,   201 S LAKE AVE,    Spring Lake, MI 49456-1940
7395548*          Internal Revenue Service,   PO box 7346,    Philadelphia PA 19101-7346
                                                                                               TOTALS: 0, * 3, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 16, 2018                                            Signature: /s/Joseph Speetjens
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District/off: 0646-1         User: jonesl                 Page 2 of 2                  Date Rcvd: Jun 14, 2018
                             Form ID: 3180W               Total Noticed: 28

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 14, 2018 at the address(es) listed below:
              Brett N. Rodgers   ecf@rodgersch13.com, ecfbnrbackup@trustee13.com
              John D. Stoddard   on behalf of Creditor   Wells Fargo Dealer Services
               bankruptcy@fabriziobrook.com
              Marla A. Skeltis   on behalf of Creditor   Fifth Third Mortgage Company mskeltis@rsmalaw.com,
               bankruptcy@rsmalaw.com
              Stephen C. Corwin   on behalf of Debtor Andrea J. Averill Admin@corwinlawyers.com
                                                                                            TOTAL: 4
                          Case:14-04375-jtg                  Doc #:73 Filed: 06/16/18            Page 3 of 4
Official Form 3180W (12/15)
                                                        United States Bankruptcy Court
                                                         Western District of Michigan
                                                            One Division Ave., N.
                                                                 Room 200
                                                           Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years, including
 married, maiden, trade, and address):

           Andrea J. Averill                                                    Case Number 14−04375−jtg
           13396 Lime Lake Dr.
           Sparta, MI 49345−0186                                                Chapter 13
           SSN: xxx−xx−4738
                                                                                Honorable John T. Gregg
                                                                  Debtor



                                                     Order of Discharge
IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

         Andrea J. Averill
         fka Andrea J. Crane, fka Andrea J. Wagenmaker

                                                                            By the court:



         DATE: June 14, 2018




Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
                                                                             liability for debts provided for by the chapter 13 plan.
                                                                             In a case involving community property: Special rules
                                                                             protect certain community property owned by the debtor's
                                                                             spouse, even if that spouse did not file a bankruptcy
                                                                             case.


                                                                                         For more information, see page 2




Form 3180W                                                   Chapter 13 Discharge                                   page 1
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Some debts are not discharged                                Creditors cannot collect discharged debts
Examples of debts that are not discharged are:               This order means that no one may make any
                                                             attempt to collect a discharged debt from the
     ♦ debts that are domestic support                       debtors personally. For example, creditors
       obligations;                                          cannot sue, garnish wages, assert a deficiency,
                                                             or otherwise try to collect from the debtors
                                                             personally on discharged debts. Creditors
     ♦ debts for most student loans;                         cannot contact the debtors by mail, phone, or
                                                             otherwise in any attempt to collect the debt
                                                             personally. Creditors who violate this order can
     ♦ debts for certain types of taxes specified in         be required to pay debtors damages and
       11 U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B),             attorney's fees.
       or 523(a)(1)(C) to the extent not paid in full        However, a creditor with a lien may enforce a
       under the plan;                                       claim against the debtors' property subject to
                                                             that lien unless the lien was avoided or
     ♦ debts for restitution, or damages, awarded            eliminated. For example, a creditor may have
       in a civil action against the debtor as a             the right to foreclose a home mortgage or
       result of malicious or willful injury by the          repossess an automobile.
       debtor that caused personal injury to an
       individual or the death of an individual; and         This order does not prevent debtors from
                                                             paying any debt voluntarily. 11 U.S.C. § 524(f).

     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.
     ♦ debts that the bankruptcy court has                    This information is only a general
       decided or will decide are not discharged              summary of a chapter 13 discharge; some
       in this bankruptcy case;                               exceptions exist. Because the law is
                                                              complicated, you should consult an
                                                              attorney to determine the exact effect of
     ♦ debts for most fines, penalties, forfeitures,          the discharge in this case.
       or criminal restitution obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts provided for under 11 U.S.C. §
       1322(b)(5) and on which the last payment
       or other transfer is due after the date on
       which the final payment under the plan
       was due;


     ♦ debts for certain consumer purchases
       made after the bankruptcy case was filed if
       obtaining the trustee's prior approval of
       incurring the debt was practicable but was
       not obtained;



In addition, this discharge does not stop creditors
from collecting from anyone else who is also liable
on the debt, such as an insurance company or a
person who cosigned or guaranteed a loan.




Form 3180W                                   Chapter 13 Discharge                           page 2
